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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiff,                            4:15-CR-3041

vs.
                                              MEMORANDUM AND ORDER
MUSA J. HARRIS,

                 Defendant.

       This matter is before the Court on the Magistrate Judge's Findings and
Recommendation on Plea of Guilty (filing 99) recommending that the Court
accept the defendant's plea of guilty. There are no objections to the findings
and recommendation. Pursuant to 28 U.S.C. § 636(b)(1)(C) and NECrimR
11.2(d), the Court has conducted a de novo review of the record and adopts
the findings and recommendation of the Magistrate Judge.

      IT IS ORDERED:

      1.   The Magistrate Judge's Findings and Recommendation on Plea of
           Guilty are adopted.
      2.   The defendant is found guilty. The plea is accepted. The Court
           finds that the plea of guilty is knowing, intelligent, and
           voluntary, and that a factual basis exists for the plea.
      3.   This case shall proceed to sentencing.

      Dated this 23rd day of January, 2017.

                                          BY THE COURT:


                                          John M. Gerrard
                                          United States District Judge
